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                                     UNITED STATES DISTMCT COURT
 9|
10|                                CENTRAL DISTRICT OF CALIFORNIA

Ill
          Allyson Chagas                              CASE NO. 2:19-cv-03860-JAK-JC
12|                                                   [Assigned for all purposes to the Honorable
                                  Plaintiff,          Judge John A. Kronstadt, Dept. 1 OB}
13|
14|               vs.                                 First Amended COMPLAINT FOR
15|       United Airlines, Inc. and DOES 1                  1. Defamation
16|       through 10, inclusive                           2. Wrongful Termination in Violation
                                                                 of Public Policy
17|                               Defendant.              3. Violation of Labor Code § 1102.5
18|
                                                      DEMAND FOR JURY TMAL
19|
201                                                   Complaint Filed: March 28,2019
                                                      Trial Date: Not yet set
21|
                                           GENERAL ALLEGATIONS
221
               Plaintiff, Allyson Chagas, brings this action against defendants United Airlines, Inc.and
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       DOES 1 through 10, inclusive (collectively "Defendants") and alleges as follows:
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                1. This Court has proper jurisdiction of this action because the alleged wrongful
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       conduct occurred at a place of employment situated in the County of Los Angeles, State of
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        California.
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               2. Plaintiff, Allyson Chagas ("Plaintiff or "Mr. Chagas"), is an adult male. At all
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                                  FIRST AMENDED COMPLAINT FOR DAMAGES"
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 1     material times alleged herein. Plaintiff was an employee of Defendant United Airlines, Inc. At all

 2|    times herein, Mr. Chagas was living in the County of Los Angeles, State of California.

 3|           3. Defendant, United Airlines, Inc. ("United Airlines"), was and is a corporation

 4|    licensed to do business in the State of California.

 5|           4. Plaintiff is ignorant of the true names and capacities of defendants sued herein as

 6|    Does 1-10, inclusive and therefore sues these defendants by such fictitious names and capacities

 7|    pursuant to California Code of Civil Procedure § 474. Plaintiff is informed and believes, and on

 8|    that basis alleges, that each fictitiously named defendant is responsible in some manner for the

 9|    occurrences alleged herein, and that Plaintiffs injuries, as alleged herein, were proximately

10|    caused by the conduct of said Doe defendants.

Ill           5. Plaintiff is informed and believes, and on that basis alleges that, at all material

12|    times herein, each of the Defendants was the joint employer, agent, employee, and/or working in

13|    concert with the co-Defendants and was acting within the course and scope of such agency,

14|    employment, and/or concerted activity and the acts of each Defendant are legally attributable to

15|    the other Defendants.

16|           6. Plaintiff is further informed and believes, and thereon alleges, that all actions of

17|    each Defendant herein alleged were ratified and approved by the other individual defendants and

18|    by the officers and managing agents of each other corporate defendants. Plaintiff is further

19|    informed and believes that to the extent that certain acts and omissions were perpetrated by

201    certain Defendants, the remaining Defendant or Defendants confirmed and ratified said acts and

21     omission;

221                         FACTS COMMON TO ALL CAUSES OF ACTION

231           7. Mr. Chagas was hired by United Airlines in April of 2013 as a flight attendant.

241    He was based out of Los Angeles International Airport. Throughout Mr. Chagas 5 years of

25|    employment with United Airlines he had an impeccable work history.

261            8. On May 23, 2018, Mr. Chagas was a flight attendant on a flight from LAX to

271    London, staying overnight in London at the Copthorne Tara Hotel which accommodations were

28|    provided by United Airlines for the crew with a return shift on May 25, 2018.


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 1             9. In the morning of May 25, 2018, Mr. Chagas left his room at the Copthome Tara

 2|    Hotel to get some food for his flight. When he returned to his room and went in, he noticed that

 3|    his clothes, which he believed had been previously folded, were strewn about the room.

 4|    Nervous, afraid, and shaken, Mr. Chagas went through his room checking for his belongings and

 5|    making sure he was alone. Thankfully, no one was there and none of his belongings were taken.

 6|    Mr. Chagas called out and a housekeeper came, and he spoke with her about what happened, and

 7|    she said she would call security. As he needed to get ready for work and for his ride to the

 8|    airport, Mr. Chagas cleaned up his room, changed into his uniform, and finished getting ready

 9|    for work. He then proceeded to checkout and informed the folks at the front desk that he

10|    believed his room was broken into and he was worried for his safety and others.

Ill            10. Mr. Chagas also reported his safety concern about how he believed his room had

12|    been broken into at the Capthome Tara Hotel to United Airlines. Mr. Chagas' suggestions for

13|    change when he submitted his report was that United Airlines should not use the hotel in the

14|    future as it "comprises our safety."

15|            11. In retaliation for making these protected complaints about workplace safety,

16|    United Airlines launched an investigation, but not into the Hotel, rather into Mr. Chagas'

17|    complaint. On June 5, 2018, Mr. Chagas was issued a Letter of Investigation into his complaint

18|    and into the possibility that his complaint had damaged United's business relationship with one

19|    of its vendors.

201            12. On June 18, 2018, United informed Mr. Chagas that he was being fired for

211    dishonesty, providing false information and making false accusations. In terminating Mr.

221    Chagas, Defendants did so on the basis of false and defamatory statements included express and

231    implied accusations that Mr. Chagas was dishonest, providing false information, and making

24|    false accusations. These and other similar false statements expressly and impliedly published

25|    that Mr. Chagas was dishonest, provided false information, and that he made false accusation.

261    These statements were published, internally and externally and are foreseeably republished, were

27|    understood by the recipients in their defamatory sense, and to be of and concerning Mr. Chagas.

281            13. United Airlines was more worried about its business relationship than its


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 111 employees reasonable concern about safety.

 211 FIRST CAUSE OF ACTION
 311             Defamation

 411 AGAINST ALL DEFENDANTS
 511 14. Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

 611 through 13 as though fully set forth herein.

 711 15. Plaintiff is informed and believes Defendants, and each of them, by the herein-

 811 described acts, conspired to, and in fact, did negligently, recklessly, and intentionally caused

 911 excessive and unsolicited internal and external publications of defamation, of and concerning

10 Plaintiff, to third persons and to the community. These false and defamatory statements

11 included express and implied dishonesty, providing false information, and making false

1211 accusations.

1311 16. While the precise dates of these defamatory publications are not known to

1411 Plaintiff, Plaintiff has discovered, within the last year, and are informed and believe the

1511 publications started on or before May 31,2018 and have continued thereafter. This defamation

16 published by Defendants, and each of them, was for the improper purpose of justifying Plaintiffs

1711 termination.

18 17. These publications were outrageous, negligent, reckless, intentional, and/or

1911 maliciously published and republished by Defendants, and each of them by and through their

2011 agents and employees. Plaintiff is informed and believes that the negligent, reckless, and

2111 intentional publications by Defendants, and each of them, were and continue to be, foreseeably

2211 published and republished by Defendants, their agents and employees, recipients, in the

2311 community. These foreseeable republications included those that Plaintiff was forced and

2411 compelled to republish after his termination. Plaintiff hereby seeks damages for these

25 publications and all foreseeable republications discovered up to the time of trial.

2611 18. During the above-described time-frame. Defendants, and each of them, conspired

2711 to, and in fact, did negligently, recklessly, and intentionally cause excessive and unsolicited

2811 publication of defamation, of and concerning Plaintiff, to third persons, who had no need or


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 111 desire to know. Plaintiff is informed and believe that those third person(s) to whom these

 2 Defendants published this defamation are believed to include, but are not limited to, other agents

 3 and employees of Defendants, and each of them, Capthorne Tara Hotel, and the community, all

 411 of whom are known to Defendants, and each of them.

 511 19. The defamatory publications consisted of oral and written, knowingly false and

 611 unprivileged communications, tending directly to injure Plaintiff and Plaintiffs' personal,

 7 business, and professional reputation. These publications included the following false and

 8 defamatory statements included express and implied accusations (in violation of Civil Code §§

 9 45 and 46(3)(5)) with the meaning and/or substance of expressly and impliedly that Plaintiff was

1011 dishonest, providing false information, and making false accusations.

1111 20. Plaintiff is informed, believes and fears that these false and defamatory per se

1211 statements will continue to be published by Defendants, and each of them, and will be

13 foreseeably republished by their recipients, all to the ongoing harm and injury to Plaintiffs

14 business, professional, and personal reputation. Plaintiff also seeks redress in this action for all

1511 foreseeable republications, including his own compelled self-publication of these defamatory

1611 statements.

1711 21. The defamatory meaning of all of the above-described false and defamatory

1811 statements and their reference to Plaintiff, were understood by these above-referenced third

19 person recipients and other members of the community who are known to Defendants, and each

2011 of them, but unknown to Plaintiff at this time.

2111 22. None of Defendants' defamatory publications against Plaintiff referenced above

2211 are true.

2311 23. The above defamatory statements were understood as assertions of fact, and not

2411 as opinion. Plaintiff is informed and believe this defamation will continue to be negligently,

2511 recklessly, and intentionally published and foreseeably republished by Defendants, and each of

2611 them, and foreseeably republished by recipients of Defendants' publications, thereby causing

2711 additional injury and damages for which Plaintiffs seek redress by this action.

2811 24. Each of these false defamatory per se publications, as set forth above, were


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 111 negligently, recklessly, and intentionally published in a manner equaling malice and abuse of any

 211 alleged conditional privilege, which Plaintiff deny existed, since the publications, and each of

 311 them, were made with hatred, ill will, and an intent to vex, harass, annoy, and injure Plaintiff in

 411 order to justify the termination of Plaintiff. Further, the malice is evidence by United Airline's

 511 accusation that Mr. Chagas' actions and complaints regarding his concerns for his own and his

 611 fellow flight attendants safety damaged United Airlines' relationship with one of their

 711 vendors/suppliers, also the Copthome Tara Hotel.

 811 25. Plaintiff is informed and believes that any alleged "investigation" allegedly

 911 conducted by Defendants was non-existent and at best reckless, and resulted in these complained

1011 ofdefamatory statements being published. Furthermore, these publications of defamation were

1111 malicious also because Plaintiff was not provided information regarding the investigation and/or

1211 allegations so that he could respond, correct, clarify, refute or redirect the investigation. Plaintiff

1311 is informed and believes that the decision to terminate Plaintiff was made before any meeting

1411 with Plaintiff to discuss the investigation and/or allegations. This made the investigation,

1511 intentionally incomplete, and reckless since the key witness, namely Plaintiff, was not consulted

1611 or interviewed about the tmth or falsify of any relevant information found or about the

1711 allegations before the decision to terminate was made.

1811 26. Each of these defamatory publications by Defendants, and each of them, were

1911 made with knowledge that any alleged investigation did not support the unsubstaatiated and

2011 obviously false statements. The Defendants published these statements knowing them to be

2111 false, unsubstaatiated by any reasonable investigation. These acts of publication were known by

2211 Defendants, and each of them, to be negligent to such a degree as to be reckless. In fact, not only

2311 did Defendants, and each of them, have no reasonable basis to believe these statements, but they

2411 also had no belief in the truth of these statements, and, in fact, knew the statements to be false.

2511 Defendants, and each of them, excessively, negligently, and recklessly published these

2611 statements to individuals with no need to know, and who made no inquiry, and who had a mere

2711 general or idle curiosity regarding this information.

281 I 27. The above complained-of publications by Defendants, and each of them, were


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 n    made with hatred and ill will towards Plaintiff and the design and intent to injure Plaintiff,

 2|   Plaintiffs good name, reputation, employment and employability. Defendants, and each of

 3|   them, published these statements, with an illegal purpose, not with intent to protect any interest

 4|   intended to be protected by any privilege, but with negligence, recklessness and/or intent to

 5|   injure Plaintiff and destroy her reputation. Therefore, no privilege existed to protect any of the

 61   Defendants from liability for any of these aforementioned publications or republications.

 71            28. As a proximate result of the publication and republication of these defamatory

      statements by Defendants, and each of them. Plaintiff has suffered injury to his personal,

 9|   business and professional reputations including suffering embarrassment, humiliation, emotional

10|   distress, shunning, anguish, fear, loss of employment, and employability, and significant

Ill   economic loss in the form of lost wages and future earnings, all to Plaintiffs economic,

12|   emotional, and general damage in an amount according to proof.

13|            29. Defendants, and each of them, committed the acts alleged herein recklessly,

14|   maliciously, fraudulently, and oppressively, with the wrongful intention of injuring Plaintiff, for

15|   an improper and evil motive amounting to malice, as described above, and which abused and/or

16|   prevented the existence of any conditional privilege, which in fact did not exist, and with a

17|   reckless and conscious disregard of Plaintiffs' rights. All actions of Defendants, and each of

18|   them, their agents and employees, herein alleged were known, authorized, ratified and approved

19|   by the Defendants, and each of them. Plaintiffs are thus entitled to recover punitive and

201   exemplary damages from Defendants, and each of them, for these wanton, obnoxious, and

211   despicable acts in an amount based on the wealth and ability to pay according to proof at time of

22|   trial.

231                                    SECOND CAUSE OF ACTION

241                         Wrongful Termination in Violation of Public Policy

25|                                   AGAINST ALL DEFENDANTS

261            30. Plaintiff re-alleges and incorporate by reference the allegations in paragraphs 1

271   through 13 as though fully set forth herein.
28|            31. As articulated above, Plaintiff was employed by Defendants. On or about June


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 11   18, 2018 Plaintiff was fired from Defendants.

 2|          32. Plaintiff was fired as a result of the defendants' violation of fundamental public

 3|   policies. It is against California Public Policy to terminate an employee who makes a complaint

 4|   with reference to employee safety or health (Labor Code § 6310 et seq) or unsafe working
 5|   condition (Labor Code § 232.5), or who makes complaints about possible theft/burglary (Penal
 6|
      Code §§ 459,484,487 and 490, and/or in violation of the public policies as set out by California
 7|
      Civil Code § 44, 45, and 46, and in numerous other statutory provisions.
 8|
             33. Defendants' conduct was a substantial factor in causing harm to Plaintiff,
 9|
      including but not limited to: loss of earnings and other employment benefits, physical injuries,
101
      pain and suffering, mental anguish and emotional distress. As such, Plaintiff is entitled to
Ill
      general and compensatory damages in amounts to be proven at the time of trial;
12|
             34. The conduct of Defendants and each of them as described above was malicious,
13|
      fraudulent, and/or oppressive and done with a willful and conscious disregard for Plaintiffs
14|
15|   rights and for the deleterious consequences of Defendants' actions. Defendants and each of

16|   them, and their agents/employees or supervisors, authorized, condoned, and ratified the unlawful

17|   conduct of each other. Consequently, Plaintiff is entitled to punitive damages against each of

18|   said Defendants.

19|                                    THIRD CAUSE OF ACTION
201                            Violation of California Labor Code § 1102.5

211                                      AGAINST All Defendants

22|          35. Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

23|   through 13 of this Complaint as though fully set forth herein.

241          36. At all times during Plaintiffs tenure with Defendants, and each of them. Plaintiff

251   was protected by California state law from retaliation based on, or motivated by, his opposition

261   to practices in violation of the California Labor Code.

27|          37. California Labor Code § 1102.5(b) expressly prohibits employers from taking

28|   retaliatory actions against an employee as follows:




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 1             (b) An employer, or any person acting on behalf of the employer, shall not retaliate

 2|            against an employee for disclosing information, or because the employer believes that the

 3|            employee disclosed or may disclose information, to a government or law enforcement

 4|            agency, to a person with authority over the employee or another employee who has the

 5|            authority to investigate, discover, or correct the violation or noncompliance, or for

 61           providing information to, or testifying before, any public body conducting an

 7|            investigation, hearing, or inquiiy, if the employee has reasonable cause to believe that the

 8|            information discloses a violation of state or federal statute, or a violation of or

 9|           noncompliance with a local, state, or federal rule or regulation, regardless of whether

10|            disclosing the information is part of the employee's job duties.

Ill            38. Here, as more fully alleged above, Plaintiff engaged in activity protected by

12|    section 1102.5(b) including, but not limited to instances when he complained about workplace

13|    safety and safe accommodations for flight attendants provided by United and complaints about

14|    possible theft/burglary.

15|            39. Shortly after making these complaints, and because of these complaints, Plaintiff

16|    was terminated by Defendant.

17|           40. As a direct an proximate cause of Defendant's acts, as alleged herein, Plaintiff has

18|    suffered and continued to suffer substantial losses in earnings and employment benefits, injury to

191    her career and reputation, and extreme and enduring emotional distress including, but not limited

20|    to, humiliation, shock, embarrassment, fear, anxiety and discomfort, all of which amount to

211    Plaintiffs damage which totals in excess of the minimum jurisdiction of this court, the precise

221    amount to be proven at trial.

23|           41. Additionally, Defendant committed the acts herein alleged maliciously,

24|    fraudulently, and oppressively, with the wrongful intention of injuring Plaintiff, and acted with

251    an improper and evil motive amounting to malice, in conscious disregard for Plaintiffs rights,

261    and thus an award of exemplary and punitive damages is justified in an amount sufficient to

27|    injure and punish Defendant.

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 11                                       PRAYER FOR RELIEF

 2|          WHEREFORE, Plaintiff prays for Judgment against United Airlines and DOES 1

 3|   through 10, inclusive and collectively as follows:

 4|          1) For compensatory and general damages according to proof;

 5|          2) For exemplary and punitive damages;

 6|          3) For attorneys' fees pursuant to Civil Code § 1021.5;

 7|          4) For costs of suit;

 8|          5) For pre-judgment and post judgment interest, at the legal rate; and

 9|          6) For such other and further relief as the Court deems appropriate and just.

10|   Respectfully submitted

11
      Dated: March 06, 2020                                 THE AARONS LAW FIRM
12|
13|
14|
                                                   Martin I Aarons
15|                                                Attorneys for Plaintiff

16|
17|
                                      DEMAND FOR JURY TRIAL
18|
             Plaintiff hereby demands a trial by jury.
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201   Dated: March 06, 2020                        THE AARONS LAW Fl

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                                                   Martin I. Aarons'
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                                                   Attorneys for Plaintiff
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 ^ 11 PROOF OF SERVICE

 211 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

              I am employed in the aforesaid county. State of California; I am over the age of 18 years
 411 and not a party to the within action. My business address is: 16000 Ventura Boulevard, Suite
       850, Encino, CA 91436
 5|
             On March 06,2020,1 served the foregoing document titled: First Amended Complaint,
      upon the following parties in this action by placing a true copy thereof, enclosed in a sealed
 711 envelope, addressed as follows:

 8|    Counsel for Defendant                             Counsel for Defendant
 9|    Michele Haydel Gehrke, Esq.                       Fatemeh S. Mashouf, Esq.
       REED SMITH, LLP                                   REED SMITH, LLP
10|    101 Second St, Suite 1800                         355 South Grand Ave., Suite 2800
       San Francisco, CA 94105                           Los Angeles, CA 90071
Ill
       Tel: (415) 543-8700                               Tel: (213) 457-8000
12|    Fax: (415) 391-8269                               Fax:(213)457-8080
       mgehrke@reedsmith. corn                           fmashouf@reedsmith. corn
13|
1411 [] BY MAIL: I caused such envelope with postage thereon fully prepaid to be placed in the
       United
^ ^ ^.^^  ^.^ States
                 ...^Mail
                       „.at _^_,
                            Encino, California to the address listed above.


1611 D BY PERSONAL SERVICE: I caused the service of such document to be personally
             delivered to addressee(s).
17|
  11 [X] SERVICE BY ELECTRONICALLY FILED DOCUMENTS Pursuant to
             Local Rule L.R. 5-3.3 upon the electronic filing of a document, a Notice of
19 Electronic Filing (NEF) is automatically generated by the CM/ECF system and
           sent by e-mail to all attorneys in the case who are registered as CM/ECF Users and
           have consented to electronic service. Service by this electronic NEF constitutes
2111 service pursuant to the FRCP and Criminal Procedure for all attorneys who have
             consented to electronic service.


2311 [X] I declare under penalty of perjury that the foregoing is true and correct.

             Executed on March 06, 2020, at Encino, California.
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^'7j          |     __       I/     ^"v'l/rv-^,
                                                    Martin I. Aarons
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